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                                                                 The Honorable Anna J. Brown

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 Of Attotneys fot Defendant Medtplan Insurance Company



                           UNITE!) STATES DISTRICT COURT
                                DISTRlCT OF OMOON
                                PORTLAND bJVjSlON

BRUCE AND NANCY BARRONE,                             Ca$eNo. 3:1:3- CV -01817- BR
                        Plaintiffs,                  STIPULATION FORAND ORDER
                                                     OF DISMISSAL
        vs.
                                                     Cle.rk's Action E,equi.r('(\
MERITPLAN INSURANCE COMPANY,
                        Defendant.


                                      1.   STIPULATJON
        The parties
            .       to this actlon, by and throllgh their undersigned .counsel, hereby
                                                                       .




stipulate. and &gree as.(ollows:
        1.    j>laintiifs Bruce and Nancy BaiTOue filed this action qp October 22, 2013,
              relating to a residentilll fu·e in Newberg, Oregon,

       2.     Plaintiffs .allegetl various preach of contract and intentional inflicli.olt of
              emotional distress claims.



STIPULATION FORANP ORDJiR OFDlSM!SSJIL
(D. Or. Gause No. 3;1$-CV-Q1&17 -l}R)-Pqs~ l           )111168
                                                                           sMITH :FREED & llBEJ\HAI\PJ>.C.
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        3.   DefeJ1dant Meritplah Ttisu!'ance Compat!Y appeared 1n the ;;c_tion and ftled atl
             answer denying Plaintiffs' clalm.s.
        4.   Oh May 27, 2014, the. pruiles partioipated in mediation before Po.rtland

             attorney Richard Spier;
        S.   As a•resu(t ofmedil!ti(ln, a· settlement of disputed claims has been reached.
        6. · The terms of the settlement are confidentiaL
        7.   The parties agree that-the above-captioneg qction should be dismissed with
             prejudice, and without an awatd of attotney's fees or litigation costs to any
             party.
       DATED thls 7thdayofJU!y, 2014.

                                                SMITHEREED & EBERHARD, P.C.


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                                                   Meritplan Insurance Cmnpat~y




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(b.:Ot,.Qluse No. 3:13- CV -Ols-17 -BR)-Page2        llll)68
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                                                  MILLARD & BRAGG, P.C.

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                                                      Of Attotneys for Plalnliffs
                                                      Bruce Bal'tone and Nancy Bartone

                           II.      ORDER ON STIPUUTION
        The Court Ms received a.nd reviewed tl)e above Stipulation of the parties, and is
fuily info;'l!le4 ln the premises. It ls hereby ORDERED that the above-captioned action
is DTSMISSED WITH PREJUDICE, and without ru1 award of attorney's fees ()r litigation
costs to any party. All remaining di>adlines rel&ting:tp this &ction are STIUCKEN.
        SO ORDERED t])is         ~~ay of July, 2014.




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 Presented by;
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